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     Proposed Attorneys for Debtors and Debtors in Possession

                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

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                                                              :
 In re                                                        :          Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :          Case No. 20–32181 (KLP)
                                                              :
                                     Debtors. 1               :          (Jointly Administered)
                                                              :
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                          NOTICE OF MOTIONS AND NOTICE OF HEARING

                 PLEASE TAKE NOTICE that on May 14, 2020, Chinos Holdings, Inc. and its
 debtor affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases
 (collectively, the “Debtors”), filed the following (collectively, the “Filings”) with the United
 States Bankruptcy Court for the Eastern District of Virginia, Richmond Division (the “Court”):

                    (i)      Application of Debtors for Authority to Retain and Employ Weil, Gotshal &
                             Manges LLP as Attorneys for Debtors, Effective as of the Petition Date;




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       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
       Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
       Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
       International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
       (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
       Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
       headquarters and service address is 225 Liberty St., New York, NY 10281.
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             (ii)    Application of Debtors for Entry of an Order Authorizing the Employment
                     and Retention of Hunton Andrews Kurth LLP as Co-Counsel for the
                     Debtors Effective as of the Petition Date;

             (iii)   Application of Debtors for Authority to Retain and Employ Alixpartners,
                     LLP, as Financial Advisor for the Debtors, Effective as of the Petition Date;

             (iv)    Application of Debtors for (I) Authority to Retain and Employ Lazard
                     Frères & Co. LLC as Investment Banker, Effective as of Petition Date, (II)
                     Modifying Certain Time-Keeping Requirements, and (III) Granting Related
                     Relief;

             (v)     Motion of Debtors for Entry of an Order (I) Authorizing Debtors to Retain
                     and Employ Professionals Utilized in the Ordinary Course of Business,
                     Effective as of Petition Date, and (II) Granting Related Relief;

             (vi)    Motion of Debtors for Entry of Order (I) Establishing a General Bar Date
                     to File Proofs of Claim, (II) Establishing a Bar Date to File Proofs of Claim
                     by Governmental Units, (III) Establishing an Amended Schedules Bar Date,
                     (IV) Establishing a Rejection Damages Bar Date, (V) Approving the Form
                     and Manner for Filing Proofs of Claim, (VI) Approving the Proposed Notice
                     of Bar Dates, and (VII) Granting Related Relief;

             (vii)   Application of Debtors for (I) Authority to Retain and Employ Hilco Real
                     Estate, LLC as Real Estate Consultants, Effective As of Petition Date, (II)
                     Waiving Certain Time-Keeping Requirements, and (III) Granting Related
                     Relief;

             (viii) Motion of Debtors for Entry of an Order (I) Establishing Procedures for
                    Interim Compensation and Reimbursement of Expenses of Professionals
                    and (II) Granting Related Relief;

             (ix)    Application of Debtor J. Crew Operating Corp., Pursuant to 11 U.S.C. §§
                     105(a), 327(e), and 328(a), Bankruptcy Rules 2014 and 2016, and Local
                     Bankruptcy Rules 2014-1 and 2016-1, for Entry of an Order Authorizing
                     Employment and Retention of Quinn Emanuel Urquhart & Sullivan, LLP;
                     and

             (x)     Application of Debtor J. Crew Operating Corp., Pursuant to 11 U.S.C. §§
                     105(a), 327(a), and 328(a), Bankruptcy Rules 2014 and 2016, and Local
                     Bankruptcy Rules 2014-1 and 2016-1, for Entry of an Order Authorizing
                     Employment and Retention of Goldin Associates, LLC.

                 PLEASE TAKE FURTHER NOTICE that a copy of each of the Filings may be
 obtained at no charge at https://www.omniagentsolutions.com/chinos or for a fee at
 https://ecf.vaeb.uscourts.gov.


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                  PLEASE TAKE FURTHER NOTICE that your rights may be affected. You
     should read the Filings carefully and discuss them with your attorney, if you have one in
     the chapter 11 cases. If you do not have an attorney, you may wish to consult one.

                PLEASE TAKE FURTHER NOTICE that on May 5, 2020, the Court entered
 the Order Establishing Certain Notice, Case Management and Administrative Procedures [Doc.
 No. 77] (the “Case Management Order”), 2 which approved certain notice, case management and
 administrative procedures attached as Exhibit 1 to the Case Management Order (the “Case
 Management Procedures”). The Case Management Procedures, among other things, prescribe the
 manner in which Objections must be filed and served and set forth when certain hearings will be
 conducted. A copy of the Case Management Order may be obtained at no charge at
 https://www.omniagentsolutions.com/chinos or for a fee at https://ecf.vaeb.uscourts.gov.

                 PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant
 the relief requested in the Filings, or if you want the Court to consider your views on the Filings,
 then, by May 25, 2020 (the “Response Deadline”), you or your attorney must:

                   File with the Court, either electronically or at the address shown below, a written
                   response to the applicable Filing pursuant to Rule 9013-1(H) of the Local Rules of
                   the United States Bankruptcy Court for the Eastern District of Virginia and the Case
                   Management Procedures. If you mail your written response to the Court for filing,
                   you must mail it early enough so the Court will receive it on or before the Response
                   Deadline.
                   If a response is not properly and timely filed and served, the Court may deem
                   any opposition waived, treat the Filings as conceded and enter appropriate
                   orders granting the requested relief without further notice or hearing.
                           Clerk of the Court
                           United States Bankruptcy Court
                           701 East Broad Street, Suite 4000
                           Richmond, Virginia 23219

                   In accordance with the Case Management Procedures, you must also serve a copy
                   of your written response on the Core Parties, the 2002 List Parties and any Affected
                   Entity so that the response is received on or before the Response Deadline.

                   Attend a telephonic hearing before the Honorable Keith L. Phillips, United States
                   Bankruptcy Judge, at 11:00 a.m. (prevailing Eastern Time) on May 28, 2020 (the
                   “Hearing”). Parties must participate in the Hearing telephonically through
                   CourtSolutions. Parties may participate through CourtSolutions without the need
                   for filing a separate motion requesting authorization to appear telephonically.
                   Information regarding telephonic appearances through CourtSolutions is available
                   on the Court’s website at http://www.vaeb.uscourts.gov.


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       Capitalized Terms used but note defined herein shall have the meaning ascribed to such terms in the Case
       Management Order

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             PLEASE TAKE FURTHER NOTICE that you should consult the Case
 Management Procedures before filing any written response to the Filings.

 Dated: May 14, 2020
        Richmond, Virginia
                                             /s/ Henry P. (Toby) Long, III
                                             HUNTON ANDREWS KURTH LLP
                                             Tyler P. Brown (VSB No. 28072)
                                             Henry P. (Toby) Long, III (VSB No. 75134)
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                                             -and-

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                                             and Debtors in Possession




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